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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


  REGINA JACKSON

  Plaintiff,                                                Civil Action No. 1:17-cv-00062

  v.

  ACCOUNT RESOLUTION SERVICES

  Defendant.


                    STIPULATION OF DISMISSAL WITHOUT PREJUDICE

          IT IS HEREBY STIPULATED and agreed, by and between the plaintiff Regina Jackson

       (“Plaintiff”) and Defendant Healthcare Revenue Recovery Group, LLC (improperly

       identified and served as Account Resolution Services) (“Defendant”), through undersigned

       counsel, that Plaintiff’s claims against Defendant in this action are dismissed without

       prejudice, with each party to bear its own costs and fees.




/s/ Christopher Componovo                             /s/ Megan T. Mantzavinos
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Dated: June 20, 2017




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